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                Exhibit 6
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                                                December 5, 2022




 VIA E-MAIL

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 RE: Defendant Feras Antoon’s Responses to Plaintiff’s First Request for Production
          and First Set of Interrogatories, Fleites v. MindGeek S.A.R.L.

 Dear Jason,

         I write in response to Defendant Feras Antoon’s October 20, 2022 responses to
 Plaintiff’s First Request for Production of Documents and September 22, 2022 responses to
 Plaintiff’s First Set of Interrogatories, which fail to respond to Plaintiff’s Requests.

         On July 29, 2022, the Court ordered Defendant Antoon, along with the MindGeek
 Defendants and the other Individual Defendants, to engage in jurisdictional discovery and to
 complete said discovery by December 30, 2022. See Dkt. No. 167. In that decision, the Court
 held that “where the money flows in the MindGeek web” and which individuals or entities own
 or exercise control over the MindGeek entities is relevant to its jurisdictional analysis. Id. at 3
 n.2, 7. Pursuant to that order, Plaintiff served Defendant Antoon with her First Set of
 Interrogatories on August 22, 2022 and her First Request for Production of Documents on
 September 20, 2022 (together, the “Requests”). Defendant Antoon responded to those requests
 on September 22, 2022 and October 20, 2022, respectively (together, the “Responses”). The
 Responses fail to substantively respond to a single Request, proposing to meet and confer on 5
 of Plaintiff’s 54 Requests. See Responses to Request Nos. 2, 7, 11-12, 32. For the reasons set
 forth herein, the asserted objections ignore the Court’s July 29, 2022 order, were previously
 rejected by this Court’s November 17, 2022 order, and are inconsistent with the most basic
 discovery rules and practices. 1

       As set forth herein, Defendant Antoon refuses to search for a single responsive
 document on the putative basis that the discovery sought is duplicative of or more easily

 1
   After Plaintiff served her discovery demands, by order dated November 17, 2022, the Court clarified its August
 11 order. Accordingly, Plaintiff does not address Defendant Antoon’s objections to Plaintiff’s requests concerning
 the merits, but reserves all rights to challenge Defendant Antoon’s objections to those requests at the appropriate
 time.
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 obtained from the MindGeek Entity Defendants. Not only is this wrong as a matter of law, but
 despite making three rolling productions to date, including one as recently as last week, the
 MindGeek Entity Defendants have produced only 353 documents and have failed to produce
 broad categories of responsive information. Accordingly, Plaintiff must simultaneously pursue
 this information from all available sources.

            1. Defendant Objects to Producing Documents On the Putative Basis
               That the Material is in Another Defendant’s Possession

          Defendant objects to almost every Request on the grounds that the information sought is
 “duplicative of information already sought by Plaintiff from the MindGeek Corporate
 Defendants” or more easily obtained from another party. But, the Court has already rejected
 this position in connection with the MindGeek Entity Defendants’ challenge to the issuance of
 letters rogatory to Grant Thornton on the putative basis that the documents sought from Grant
 Thornton are in the possession of, or more easily obtained from, the MindGeek Entity
 Defendants. Dkt. 211 at 3-4 (rejecting the argument that a non-party was relieved of its duty to
 produce documents that MindGeek might possess but has not produced). That holding is
 consistent with the long line of cases which uniformly recognizes that parties are “not relieved
 of producing responsive documents in [their] possession, custody and control because [they]
 assert[] that other defendants have produced the documents.” See, e.g., Anson v. Weinstein, No.
 CV 17-8360-GW (KSX), 2019 WL 6655259, at *4 (C.D. Cal. Aug. 26, 2019). This is true
 “regardless of whether other parties may also produce similar or even identical documents.” Id.
 These holdings are even more applicable here where the party Plaintiff seeks discovery from is a
 defendant to the case, not a third party.

         Moreover, for certain Requests, Defendant is the only party who would have the
 requested information, despite his objection to the contrary. For example, RFP No. 7 seeks
 documents related to Defendant Antoon’s business relationships with various U.S.-based
 entities, such as Colbeck Capital, JP Morgan Chase, and Fortress Investment Group. Although
 the MindGeek Entity Defendants may have certain information responsive to this Request,
 Plaintiff is entitled to determine whether Defendant Antoon has additional communications with
 these entities through electronic messages and personal email accounts not on the MindGeek
 server.

        Finally, as set forth above, to date, the MindGeek Entity Defendants have failed to
 produce responsive discovery. Accordingly, Defendant Antoon cannot rely on the entity
 defendants’ production in lieu of his own.

            2. Defendant Refuses to Produce Documents
               And Communications Concerning Serena Fleites.

        Defendant Antoon likewise objects to producing “[a]ll documents and communications
 concerning Serena Fleites.” In response, Defendant Antoon argues that the requested
 information is irrelevant to the Court’s jurisdictional analysis and limits his response to
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 communications with Plaintiff, which he states do not exist. Both the objection and the
 recharacterization of the Request are improper.

         Defendant’s internal communications about Plaintiff are plainly relevant to this Court’s
 jurisdictional analysis in so far as they evidence Defendant’s direct involvement in a scheme
 that targeted and harmed a California plaintiff. Allstar Mktg. Grp., LLC v. Your Store Online,
 LLC, 666 F. Supp. 2d 1109, 1120 (C.D. Cal. 2009) (“Courts have . . . found a corporate officer’s
 contacts on behalf of a corporation sufficient to subject the officer to personal jurisdiction where
 the officer is a primary participant in the alleged wrongdoing or had control of, and direct
 participation in the alleged activities.”) (citing cases) (quotation marks omitted)). Consistent
 with this well-settled law, certain MindGeek entities previously conceded jurisdiction as to
 California-based plaintiffs, see Dkt. 72-2 (acknowledging sufficient jurisdictional nexus for in-
 state plaintiffs while arguing that out-of-state foreign plaintiffs must be dismissed). Thus,
 Defendant’s communications about this California-based Plaintiff, the monetization of
 Plaintiff’s CSAM, and her efforts to have that content removed would be relevant to the
 exercise of jurisdiction over Defendant Antoon.

         Moreover, the July 29 Order recognizes that discovery concerning the individuals
 responsible for setting policies concerning the moderation, optimization, uploading, and
 monetization of Plaintiff’s CSAM and the MindGeek Defendant’s efforts to silence, discredit,
 and intimidate victims that tried to expose it’s human and sex trafficking venture is plainly
 relevant to the Court’s jurisdictional and alter ego analyses. Dkt. 167 at 7 (holding that
 Plaintiff’s allegations “seeking to tie to the MindGeek Individual Defendants the policies and
 practices that governed one of MindGeek’s main lines of business” were “not speculative” and
 ordering jurisdictional discovery on the issue); see also Dkt. 211 at 5 (holding that Plaintiff had
 established the jurisdictional relevance of requests to third parties that relate to the issue of “who
 controls, owns, and operates the various MindGeek Entities”).

             3. Defendant Refuses to Produce
                Documents Concerning His Jurisdictional Contacts

         Defendant improperly objects to several Requests that seek information concerning his
 connections and activities with California and other jurisdictions in the United States. See RFP
 See Request No. 11 (seeking documents and communications related to Your “present
 jurisdictional contacts with the United States or California”); Request No. 12 (seeking
 documents and communications related to, among other things “political activities in California
 or any jurisdiction in the United States,” “trips to California or any jurisdiction in the United
 States, profits, expenses, and taxes paid in or earned from California or any other United States
 jurisdiction, and communications or business relationships with, to, from, or in California or any
 other United States jurisdiction); RFP Request Nos. 6, 9, 22-23, 26-28 (seeking documents
 relating to the organization and corporate structure of MindGeek). Each of these requests seeks
 information that is plainly relevant to the Court’s jurisdictional analysis. Nevertheless,
 Defendant Antoon refuses to search for a single document in response to these Requests.
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         Similarly, Defendant Antoon refuses to produce communications with other defendants
 (RFP Request No. 4), even though his relationship with and control over entities and individuals
 domiciled or doing business in the state of California are relevant to both the Court’s
 jurisdictional and alter ego analyses. See also RFP Request No. 2 (seeking documents and
 communications concerning Defendant’s affiliation with any MindGeek Related Entity,
 including those based in California or other United States jurisdictions); RFP Request No. 3
 (seeking documents and communications concerning income, revenue, or other monies that
 Defendant received from any MindGeek Related Entity, including those based in California or
 other United States jurisdictions).

            4. Defendant Refuses to Produce Documents Concerning “Where the
               Money Flows in the MindGeek Web” and Plaintiff’s Alter Ego Allegations

         Defendant Antoon objects to producing documents responsive to Plaintiff’s requests
 concerning the relationship and purpose of the various MindGeek entities, their corporate
 structure, ownership, and purpose. See, e,g., RFP Request No. 7 (seeking documents
 concerning business relationships with various entities, such as Colbeck Capital, JP Morgan
 Chase, Fortress Investment Group); RFP Request No. 8 (seeking documents related to
 Defendant Antoon’s beneficial ownership of or economic interest in any MindGeek Related
 Entity or MindGeek intellectual property); RFP Request No. 13 (seeking documents concerning
 MindGeek entity and tubesite profits); RFP Request No. 14 (seeking documents concerning or
 provided to investors in any MindGeek Related Entity); RFP Request No. 15 (seeking
 documents related to any transactions involving the ownership loans to, secured interest in, or
 intellectual property or other rights related to MindGeek); RFP Request No.16 (seeking, among
 other things, financials, ledgers, and shareholder lists); RFP Request No. 17 (seeking among
 other things, tax filings, audits, financials, and accounting reports); RFP Request No. 18
 (seeking “Your monthly, quarterly, and annual bank and investment statements”); RFP Request
 No. 19 (seeking documents related to any corporate reorganization by MindGeek); Request No.
 20 (seeking documents identifying MindGeek subsidiaries); RFP No. 21 (seeking documents
 identifying directors, managers, members, executives, and personnel of MindGeek subsidiaries);
 RFP Request No. 24 (seeking information on, among other things, MindGeek bank accounts);
 RFP Request No. 25 (seeking audited financial statements and communications with auditors);
 and RFP Request No. 29 (seeking documents concerning payments, investments, or loans to or
 from any MindGeek Entity or the Individual Defendants).

         The July 29, 2022 Order held that “[w]here the money flows in the MindGeek web,
 which may relate to the ownership of the porn sites that generate revenue, matters to the
 Court’s jurisdictional analysis.” Dkt. 167 at 3 n.2 (emphasis added). The same Order
 recognized that defendants’ alter ego contacts could be imputed for jurisdiction and directed the
 parties to take discovery to determine whether the MindGeek entities and the individual
 defendants are alter egos of each other. Id. at 4. Consistent with these rulings, by order dated
 November17, 2022, in granting Plaintiff’s request for issuance of letters rogatory to Grant
 Thornton, the Court held that the precise categories of documents Plaintiff seeks from
 Defendant Antoon here are relevant and discoverable. Dkt. 211 at 5 (“The Court agrees with
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 Plaintiff that the information is relevant to the Court’s jurisdictional analysis and ensures
 Plaintiff ‘obtains complete and accurate information.’”).

            5. Defendant Improperly Limits His Responses to Material on Pornhub,
               Rather Than All of MindGeek’s Tubesites

          Defendant Antoon unilaterally limits Plaintiff’s requests to material on Pornhub, to the
 exclusion of the other MindGeek Tubesites. Again, this Court previously rejected this argument
 by order dated November 17, 2022. Dkt. 211 at 5 (agreeing with Plaintiff that requests
 regarding “the [true] ownership of porn sites that generated revenue from Plaintiff’s child
 sexual abuse material” is relevant to the Court’s jurisdictional analysis) (emphasis added);
 compare Dkt. 192 at 10 (where MindGeek argued that jurisdictional discovery should be largely
 limited to “ownership and control of Pornhub” and “the flow of revenue from Pornhub”) with
 Dkt. 211 at 6 (granting Plaintiff’s Motion for Issuance of Letters Rogatory and expressly
 approving Plaintiff’s requests, which sought all documents “reflecting annual revenues, profits
 and losses, and expenses for each MindGeek . . . Tubesite or the entity that owns or controls
 that platform or website”) (emphases added). The Amended Complaint alleges that Defendants
 monetized and re-uploaded her CSAM to its other tubesites. See, e.g., Am. Compl. ¶¶ 114, 126,
 194, 243, 245-49, 255, 259, 262, 268, 272, 371(f), 532(f). The Court sustained these allegations
 at this stage in the proceeding and directed the parties to take discovery concerning any relevant
 jurisdictional and imputed contacts. Dkt. 167 at 7; see also id. at 5 n.5 (recognizing that a key
 goal of jurisdictional discovery here is to test Plaintiff’s allegations that the “Individual
 Defendants promulgated a policy of reuploading child porn, like Plaintiff’s videos, to
 MindGeek’s websites after taking them down”). Nothing in the July 29 order limits the holding
 to Pornhub. Plaintiff is entitled to take discovery concerning all entities that uploaded,
 optimized, and monetized her CSAM, and the individual that own and exercise operational
 control over those entities.

            6. Defendant Antoon Improperly Limits His Response to Defendants.

         Plaintiff’s Requests define the MindGeek Entities to include “the hundreds of companies
 that are owned, directly or indirectly, and/or affiliated with MindGeek S.A.R.L., including the
 hundreds of tubesites owned and operated by MindGeek, and the hundreds of companies that
 were created and dissolved during the period relevant to the Amended Complaint.” This is
 consistent with the allegations in the Amended Complaint that the MindGeek entities are alter
 egos of each other and do not serve any legitimate purpose. See, e.g., Am. Compl. ¶¶ 24, 31,
 34, 41, 129, 131-57. By order dated July 29, 2022, the Court held that Plaintiff had alleged
 sufficient alter ego allegations to warrant discovery concerning the relationship between all the
 MindGeek entities, the flow of money, and capitalization of the various entities. Dkt. 167 at 7
 (holding that Plaintiff’s allegations “seeking to tie to the MindGeek Individual Defendants the
 policies and practices that governed one of MindGeek’s main lines of business” were “not
 speculative” and ordering jurisdictional discovery on the issue); id at 4 (“Plaintiff may also be
 able to impute the contacts of the non-objecting MindGeek Entity Defendants to MindGeek
 S.A.R.L. and MG Premium through the alter ego doctrine.”). Again, nothing in the Court’s
 order limited its ruling to just the defendant entities. Moreover, the Court has already rejected
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 the position advanced by Defendant Antoon in connection with Plaintiff’s requests for discovery
 from Grant Thornton. Compare Dkt. 192 at 9-10 (arguing that the definition of “MindGeek
 Entity” was overly broad and should instead be limited to the named MindGeek defendants)
 with Dkt. 211 at 6 (issuing letters rogatory related to the production of contracts between Grant
 Thornton and all MindGeek entities, as those documents “can help determine the Court’s
 personal jurisdiction over certain Defendants”).

            7. Defendant Refuses to Produce Discovery Concerning His Role in Setting
               Policies Concerning the Uploading and Monetization of CSAM.

         Request Nos. 5, 38-42, and 46 seek documents and communications between Defendant
 Antoon and any Defendant “related to the presence of any CSAM” on MindGeek sites, the
 reporting of CSAM, and MindGeek’s policies when CSAM is identified. Request Nos. 43-45,
 and 47 seek the investigative report by the law firm Kaplan, Hecker, & Fink detailing its
 findings of MindGeek’s practices, any documents provided to Kaplan Hecker in connection
 with that investigation and any non-privileged communications regarding same. Requests 33-42
 concern MindGeek’s policies, procedures, and technologies used for monitoring, moderating,
 and removing material from its websites. Finally, Request No. 30 seeks documents and
 communications concerning the putative resignation of Defendants Antoon and Tassillo, who
 spent more than a decade in leadership positions with MindGeek, resigned amid public scrutiny
 concerning allegations that the MindGeek Entities, their officers, directors, and employees,
 intentionally commercialized and monetized illegal CSAM and stonewalled efforts to have the
 content removed, including in the case of Plaintiff.

         These Requests collectively seek, among other things, information related to
 Defendant’s personal involvement in the adoption of policies and procedures concerning the
 handling of CSAM, and Defendant’s role in controlling and directing the various MindGeek
 entities operations, particularly as it concerns SEO and CSAM, which the Court has held is
 relevant to its jurisdictional analysis. Dkt. 167 at 7. Moreover, documents related to the
 resignations of these individuals, including investigations, allegations, or reports of their
 conduct and the manner in which they ran the MindGeek business and profited from illegal
 conduct are directly relevant to the Court’s inquiry of who set the policies as it relates to the
 monetization of CSAM, who enforced those policies, and who was held accountable for that
 conduct when the wrongdoing was exposed, which this Court has held is relevant to assess the
 exercise of jurisdiction. See id.

            8. Defendant Refuses to Disclose Information That Would Violate Any Law,
               Rule, or Regulation.

         Defendant Antoon’s refusal to disclose information that may violate a law, rule, or
 regulation, for instance because it would require disclosure of information protected by
 applicable privacy or data protection, is improper. “The mere existence of a blocking statute
 does not preclude an American court from ordering discovery from a foreign litigant.” Connex
 R.R. LLC v. AXA Corp. Sols. Assurance, 2017 WL 3433542, at *5 (C.D. Cal. Feb. 22, 2017).
 “Indeed, the Supreme Court has stated that ‘[i]t is well settled that such statutes do not deprive
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 an American court of the power to order a party subject to its jurisdiction to produce evidence
 even though the act of production may violate that statute.’” Id. (quoting Société Nationale v.
 U.S. Dist. Court for the S. Dist. of Iowa, 482 U.S. 522, 524, 544 n.29 (1987)). Currently, it is
 impossible for Plaintiff to assess the propriety of Defendant’s failure to disclose information
 without more specific information. Thus, if Defendant refuses to provide documents in full or
 redacts documents on the purported basis that he must do so in compliance with a law, rule, or
 regulation, Defendant must submit a log of the withheld information, so that Plaintiff can
 properly assess Defendant’s claims.

            9. Defendant Refuses to Produce Contact
               Lists, Media and Communications Accounts

         Defendant Antoon refuses to identify or produce contact lists or communication
 accounts and fails to identify the usernames and/or related contact information associated with
 his WhatsApp, Telegram, Signal, Teams, and Skype for Business, though he admits to using
 these platforms. Of course, nothing can be more relevant to the Court’s jurisdictional analysis
 than the identity and locations of the individuals that Defendant Antoon communicated and
 worked with in furtherance of the MindGeek’s illegal trafficking venture and their efforts to
 conceal and coverup their wrongdoing.

                                         *       *       *

         Plaintiff endeavors to resolve these disputed requests in an expedited manner given the
 short discovery timeline that the Court has established in this matter and looks forward to your
 prompt response to her concerns.



                                                      Sincerely,

                                                      BROWN RUDNICK LLP



                                                      Michael J. Bowe
